Case 4:09-cr-00043-SPF Document 142 Filed in USDC ND/OK on 09/21/09 Page 1 of 29




                    IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA,               )
                                         )
                     Plaintiff,          )
                                         )
 v.                                      )       09-CR-43-SPF
                                         )
 LINDSEY KENT SPRINGER and               )
 OSCAR STILLEY,                          )
                                         )
                     Defendants.         )

                          LINDSEY KENT SPRINGER TRIAL BRIEF

       Lindsey Kent Springer (“Springer”) files his trial brief related to the trial of

 Lindsey Kent Springer.

                                    INTRODUCTION

       The trial in this case is currently scheduled to begin on October 26, 2009. The

 Court has set an informal jury instruction conference on October 21, 2009.

 1.    Count One

       In Count One, the Indictment charges that from the year 2000 to January 15,

 2009, Defendants Springer and Stilley conspired to defraud the United States by

 working together to impede and impair the ability of the Internal Revenue Service

 to ascertain, compute, assess, and collect the federal income tax liabilities owed

 by Springer. The Indictment charges that, in an attempt to evade his federal

 income tax liabilities, Springer conspired with Stilley and others to hide the fact that

 Springer received taxable gross income. The Indictment charges that Springer



                                             1
Case 4:09-cr-00043-SPF Document 142 Filed in USDC ND/OK on 09/21/09 Page 2 of 29




 earned taxable income and utilized various means to hide this fact. These means

 included using the nominee name Bondage Breakers Ministry, using Stilleys

 attorney-client trust account to transmit funds to Springer, and using Stilleys credit

 card Springer’s purchases for which Springer reimbursed Stilley. The Indictment

 alleges that the Springer and Stilley took these and other steps to impede, impair,

 obstruct and defeat the Internal Revenue Service in its ascertainment,

 computation, assessment and collection of federal income tax liabilities owed by

 Springer for years 2000, 2003 and 2005.

 2.    Elements of Count One

       The elements of conspiracy “to defraud” under 18 U.S.C. § 371 are "that (1)

 the defendant entered into an agreement; (2) the agreement involved a violation

 of the law; (3) one of the members of the conspiracy committed an overt act; (4)

 the overt act was in furtherance of the conspiracy's object; [and] (5) the defendant

 wilfully entered the conspiracy," United States v. Weidner, 437 F.3d 1023, 1033 (10th

 Cir. 2006). See also U.S. v. Thompson, 518 F.3d 832, 853 (10th Cir. 2008), and (6)

 interdependence among the alleged co-conspirators; that is the members, in some

 way or manner, intended to act together for their shared mutual benefit within the

 scope of the conspiracy charged. Title 18, United States Code Section 371. See

 United States v. Edwards, 69 F.3d 419, 430-431 (10th Cir. 1995); Tenth Circuit Pattern

 Jury Instructions 2.19 (2005) (modified)

       According to the Grand Jury Indictment Springer and Stilley began the



                                            2
Case 4:09-cr-00043-SPF Document 142 Filed in USDC ND/OK on 09/21/09 Page 3 of 29




 conspiracy in the year 2000 and the law violated was the “defraud” law to which

 this Court has yet to identify in any of its previous orders. Nor has the Prosecution

 identified where public notice of this criminal provision was given to Springer prior

 to the year 2000. Nonetheless, at this point, based upon the Court’s citation to

 United States v. Bedford, 536 F.3d 1148, 1151, 115501157, it is believed by Springer

 the theory of Prosecution is there is some “underlying” criminal provision which

 makes “defrauding the United States” illegal. See Doc. 136 at 2

       It is certainly true that "federal crimes are defined by statute rather than by

 common law." United States v. Oakland Cannabis Buyers' Coop., 532 U.S. 483, 490,

 121 S.Ct. 1711, 149 L.Ed.2d 722 (2001). “It is well settled that there are no common

 law offences against the United States.” United States v. Hudson, 7 Cranch, 32;

 United States v. Coolidge, 1 Wheat. 415; United States v. Britton, 108 U.S. 199, 206;

 Manchester v. Massachusetts, 139 U.S. 240, 262, 263, and cases there cited. And

 under our constitutional system “federal crimes are defined by statute rather than

 by common law.” see United States v. Hudson, 7 Cranch 32, 34 (1812); U.S. v. Al-

 Rekabi, 454 F.3d 1113 (fn.7)(10th Cir. 2006)

       To conspire to defraud the United States means primarily to cheat the

 government out of property or money, but it also means to interfere with or obstruct

 one of its lawful government functions by deceit, craft or trickery, or at least by

 means that are dishonest." Hammerschmidt v. United States, 265 U.S. 182, 188, 44

 S.Ct. at 512; See also McNally v. United States, 483 U.S. 350, 359-60 & n. 8, 107 S.Ct.


                                           3
Case 4:09-cr-00043-SPF Document 142 Filed in USDC ND/OK on 09/21/09 Page 4 of 29




 2875, 2881-82 & n. 8, 97 L.Ed.2d 292 (1987); quoted in U.S. v. Scott, 37 F.3d 1564, 1575

 (10th Cir. 1994) [“We agree with Caldwell's requirement that the instructions clearly

 communicate that the means must be dishonest, deceitful or fraudulent in the

 sense of its usual meaning.”][United States v. Caldwell, 989 F.2d 1056, 1059 (9th Cir.

 1993)]

          There is absolutely no allegation in 2000 of any agreement other than the

 conspiracy agreement began or was born in the year 2000. The indictment alleges

 Mr. Stilley lied to the Grand Jury in 2006 and Springer lied in 2005 and again on

 January 15, 2009.

 3.       Materiality as to Count One

          Springer asserts the burden is on the Prosecution to show the statements

 alleged to have been made were made, were false, and were false to a material

 matter. To determine whether a statement is material the appropriate test is to

 examine whether it has a natural tendency to influence, or is capable of

 influencing a decision or action by another. United States v. Wiles,106 F.3d 1516,

 1519 (10th Cir. 1997). The question of whether a statement is material is a question

 of fact for the jury to decide. Neder v. United States, 527 U.S. at 19-23, 119 S.Ct. 1827;

 see also U.S. v. Lawrence, 405 F.3d 888, 901 (10th Cir. 2005)

          The question of materiality is constitutionally required to be submitted to the

 jury as an element; failure to do so is reversible error. United States v. Gaudin, 515

 U.S. 506, 511, 522–23 (1995). A material statement is one that has a natural tendency



                                             4
Case 4:09-cr-00043-SPF Document 142 Filed in USDC ND/OK on 09/21/09 Page 5 of 29




 to influence or was capable of influencing the decision of the tribunal in making a

 required determination. See, e.g., United States v. Harrod, 981 F.2d 1171, 1176 (10th

 Cir. 1992). See also Neder v. United States, 527 U.S. 1, 25 (1999).

 4.    Lawful Function

       The indictment alleges Springer and Stilley had as an object of their alleged

 agreement to impede, impair, obstruct, and defeat the lawful functions of the IRS

 in their computation, ascertainment, assessment and collection of tax liability owed

 by Springer for the years 2000, 2003 and 2005. A federal officer is ‘‘engaged in the

 performance of his official duties’’ if he is acting within the scope of what he is

 employed to do, rather than engaging in a personal frolic of his own. United States

 v. Young, 614 F.2d 243, 244 (10th Cir. 1980)

 5.    Venue as to Count One

       Failure to file Tax Returns is a central issue in Count One. In Count One of the

 indictment, the Government is required to prove venue. Proof of venue is an

 essential element of each of the Counts in the Government's case according to the

 offenses charged and the Sixth Amendment. It may be established by direct or

 circumstantial evidence. Furthermore, unlike other elements of an offense which

 must be proved beyond a reasonable doubt, venue need only be proved by a

 preponderance of the evidence." U.S. v. Taylor, 828 F.2d 630, 633 (10th Cir. 1987)

 The requirement concerning the place of filing of the individual income tax return

 Form 1040 for the years 2000 through 2005 is provided in 26 U.S.C.A. § 6091(b)(1)(A)



                                           5
Case 4:09-cr-00043-SPF Document 142 Filed in USDC ND/OK on 09/21/09 Page 6 of 29




 for persons other than corporations. It prescribes the place of filing as “in the

 internal revenue district in which is located the legal residence or principal place

 of business of the person making the return. . . .” “The federal statute and

 regulations lay down the rule as a matter of federal law.” Taylor at 634

        In order for the jury to find venue was proven to be in the United States

 District Court for the Northern District of Oklahoma Prosecution must prove to the

 jury (1) Springer was required by law to file a Form 1040 for the years 2000 through

 2005 on or before April 15, 2001, April 15, 2002, April 15, 2003, April 15, 2004, April 15,

 2005 and April 15, 2006 with the District Director over the Internal Revenue District

 encompassing the County of Creek, State of Oklahoma; (2) that Springer

 maintained a legal residence in this “Internal Revenue District” established by law

 at the same time; (3) that legal residence was located within the geographical

 boundaries of the United States District Court for the Northern District of Oklahoma.

 To find an “Internal Revenue District” encompassed the legal residence of Springer

 according to Title 26, Section 7621, the Prosecution must prove and the jury must

 find that as of January 1, 2001, and continuing through April 15, 2006, the President

 of the United States of America had established an “Internal Revenue District”

 encompassing the County of Creek in the State of Oklahoma. The Prosecution

 must prove and the jury must find Springer’s residence is within the United States

 District Court for the Northern District of Oklahoma and that Springer lived in the

 County of Creek in the State of Oklahoma from at least January 1, 2001 through


                                             6
Case 4:09-cr-00043-SPF Document 142 Filed in USDC ND/OK on 09/21/09 Page 7 of 29




 April 15, 2006.

 6.    Springer’s current defenses to Count One

       Springer only speculates as to the different defenses regarding Count One.

 Springer asserts the evidence will show no agreement, formal or otherwise, at any

 time beginning in the year 2000 and the Prosecutions tendered discovery proves

 this along with the testimony Brian Shern. Springer was unaware nonetheless of any

 separate offense of the United States regarding the prohibition of “defrauding”

 independent of 18 U.S.C. § 371 or the meaning of that term in such unknown

 provision of law. Springer asserts the evidence will show that at all times he took no

 deliberate steps to hide anything from the IRS.

       The evidence will not show Springer acted in bad faith. The evidence will

 show no district director or internal revenue district existed that could be relied

 upon by the Prosecution to prove to the jury under Cheek Springer was “required

 by law” or the “law imposed a duty” that he file a Form 1040 for the year 2000,

 2001, 2002, 2003, 2004 and 2005. The evidence will also prove the money at issue

 for each year was intended not as payment for services rendered, as Brian Shern

 testified to the indicting Grand Jury, but rather was given to Springer and made

 known at the time it was given to continue Springer’s mission of helping “get rid of

 the Internal Revenue Service” once and for all. Evidence will also overwhelming

 show the IRS Form 1040 for the years 1995 to present do not comply with the

 Paperwork Reduction Act of 1995 and that a defense to the claims in Count One



                                           7
Case 4:09-cr-00043-SPF Document 142 Filed in USDC ND/OK on 09/21/09 Page 8 of 29




 was offered by the Commissioner of the Internal Revenue Service in 1996 through

 2005 and that Springer relied upon these words and the complete defense under

 44 U.S.C. § 3512 as a public protection from the penalties sought in this charge.

 Evidence will also show Springer’s ministry to get rid of the IRS did not begin in 2000

 as Shern testified but rather began in 1992 long before Shern alleges Springer met

 Stilley. The evidence will also show that none of the alleged overt acts in Count

 One are acts in furtherance of any agreement entered in 2000 by Springer and

 Stilley. Furthermore, there is no evidence the Prosecution intends to enter that will

 show Springer and Stilley entered into an agreement in 2000 to impede, impair,

 obstruct, or defeat, the lawful function of the IRS in the computation,

 ascertainment, assessment or collection of any taxes owed by Springer for 2000,

 2003 and 2005.

       The evidence will show that Springer’s usage of Bondage Breaker’s Ministry

 was not a fake name used to hide money tendered to Springer from the IRS. The

 evidence will show Springer did not use Stilley’s Iolta Account to conceal income

 and assets from the IRS. The evidence will show if Springer was required to make

 or file anything with the IRS that it was an unintentional mistake and not deliberate.

 If it becomes necessary, Springer will present a good faith defense to the claims in

 Count Two. The evidence will show that the term “exempt amount” for the year

 2000 through 2005 has not been written in any law of Congress. The evidence will

 prove lack of venue as to Count One.


                                           8
Case 4:09-cr-00043-SPF Document 142 Filed in USDC ND/OK on 09/21/09 Page 9 of 29




 7.      Count Two

         Springer is charged in Count Two with attempting to evade Springer’s income

 tax liability for the years 2000 in violation of Title 26, United States Code, Section

 7201.

 8.      Count Two Elements

         The elements of attempted tax evasion are: (1) a substantial tax liability was

 due and owing by Springer for the year 2000; United States v. Mounkes, 204 F.3d

 1024, 1028 (10th Cir. 2000); U.S. v. Anderson, 319 F.3d 1218, 1219 (10th Cir. 2003); U.S.

 v. Thompson, 518 F.3d 832, 853 (10th Cir. 2008) and U.S. v. Farr, 536 F.3d 1174, 1181

 (10th Cir. 2008), (2) willfulness; and (3) an affirmative act constituting evasion or

 attempted evasion of payment regarding the tax liability owed by Springer for the

 year 2000. United States v. Mounkes, 204 F.3d 1024, 1028 (10th Cir. 2000); U.S. v.

 Anderson, 319 F.3d 1218, 1219 (10th Cir. 2003). To find Springer acted willfully as

 alleged in Count Two, the Government must prove (1) that the law imposed a

 specific duty on Springer to file a Form 1040 at the time, place and manner,

 prescribed by law, (2) that Springer knew of this specific duty according to these

 prescribed laws, and (3) that he voluntarily and intentionally violated such duty

 under these laws. . U.S. v. Chisum, 502 F.3d 1237, 1241 (10th Cir. 2007); quoting

 Cheek v. United States, 498 U.S. 201, 202 (1991).

 9.      Materiality as to Count Two

         Springer asserts the burden is on the Prosecution to show the statements


                                            9
Case 4:09-cr-00043-SPF Document 142 Filed in USDC ND/OK on 09/21/09 Page 10 of 29




  alleged to have been made were made, were false, and were false to a material

  matter. To determine whether a statement is material the appropriate test is to

  examine whether it has a natural tendency to influence, or is capable of

  influencing a decision or action by another. United States v. Wiles,106 F.3d 1516,

  1519 (10th Cir. 1997). The question of whether a statement is material is a question

  of fact for the jury to decide. Neder v. United States, 527 U.S. at 19-23, 119 S.Ct. 1827;

  see also U.S. v. Lawrence, 405 F.3d 888, 901 (10th Cir. 2005)

        The question of materiality is constitutionally required to be submitted to the

  jury as an element; failure to do so is reversible error. United States v. Gaudin, 515

  U.S. 506, 511, 522–23 (1995). A material statement is one that has a natural tendency

  to influence or was capable of influencing the decision of the tribunal in making a

  required determination. See, e.g., United States v. Harrod, 981 F.2d 1171, 1176 (10th

  Cir. 1992). See also Neder v. United States, 527 U.S. 1, 25 (1999).

  10.   Venue as to Count Two

        Failure to file Tax Returns is a central issue in Count Two. In Count Two of the

  indictment, the Government is required to prove venue. Proof of venue is an

  essential element of each of the Counts in the Government's case according to the

  offenses charged and the Sixth Amendment. It may be established by direct or

  circumstantial evidence. Furthermore, unlike other elements of an offense which

  must be proved beyond a reasonable doubt, venue need only be proved by a

  preponderance of the evidence." U.S. v. Taylor, 828 F.2d 630, 633 (10th Cir. 1987)

                                             10
Case 4:09-cr-00043-SPF Document 142 Filed in USDC ND/OK on 09/21/09 Page 11 of 29




  The requirement concerning the place of filing of the individual income tax return

  Form 1040 for the year 2000 is provided in 26 U.S.C.A. § 6091(b)(1)(A) for persons

  other than corporations. It prescribes the place of filing as “in the internal revenue

  district in which is located the legal residence or principal place of business of the

  person making the return. . . .” “The federal statute and regulations lay down the

  rule as a matter of federal law.” Taylor at 634

         In order for the jury to find venue was proven to be in the United States

  District Court for the Northern District of Oklahoma Prosecution must prove to the

  jury (1) Springer was required by law to file a Form 1040 for the years 2000 on or

  before April 15, 2001 with the District Director over the Internal Revenue District

  encompassing the County of Creek, State of Oklahoma; (2) that Springer

  maintained a legal residence in this “Internal Revenue District” established by law

  at the same time; and (3) that legal residence was located within the geographical

  boundaries of the United States District Court for the Northern District of Oklahoma.

  To find an “Internal Revenue District” encompassed the legal residence of Springer

  according to Title 26, Section 7621, the Prosecution must prove and the jury must

  find that as of January 1, 2001, and continuing through April 15, 2006, the President

  of the United States of America had established an “Internal Revenue District”

  encompassing the County of Creek in the State of Oklahoma. The Prosecution

  must prove and the jury must find Springer’s residence is within the United States

  District Court for the Northern District of Oklahoma and that Springer lived in the


                                           11
Case 4:09-cr-00043-SPF Document 142 Filed in USDC ND/OK on 09/21/09 Page 12 of 29




  County of Creek in the State of Oklahoma from at least January 1, 2001 through

  April 15, 2001.

  11.   Count Two Defenses

        The evidence will show that Bondage Breaker’s Ministry was not some fake

  name to hide from the IRS money tendered Springer. The evidence will show

  Springer never directed anyone to pay for any service by writing “donation” or

  “gift” on any check. The evidence will show Springer kept records as seized by

  Brian Shern on September 16, 2005.       The evidence will show Springer never

  concealed or intended to conceal any gross income or assets owned by Springer.

        The evidence will not show Springer acted in bad faith. The evidence will

  show no district director or internal revenue district existed that could be relied

  upon by the Prosecution to prove to the jury under Cheek Springer was “required

  by law” or the “law imposed a duty” that he file a Form 1040 for the year 2000. The

  evidence will also prove the money at issue for each year was intended not as

  payment for services rendered, as Brian Shern testified to the indicting Grand Jury,

  but rather was given to Springer and made known at the time it was given to

  continue Springer’s mission of helping “get rid of the Internal Revenue Service”

  once and for all. Evidence will also overwhelming show the IRS Form 1040 for the

  year 2000 did not comply with the Paperwork Reduction Act of 1995 and that a

  defense to the claims in Count Two was offered by the Commissioner of the Internal

  Revenue Service in 2000 and that Springer relied upon these words and the

                                          12
Case 4:09-cr-00043-SPF Document 142 Filed in USDC ND/OK on 09/21/09 Page 13 of 29




  complete defense under 44 U.S.C. § 3512 as a public protection from the penalties

  sought in this charge.   Evidence will also show Springer’s ministry to get rid of the

  IRS did not begin in 2000, as Shern testified, but rather began in 1992. The evidence

  will show Springer never stated he had no “income” as Brian Shern testified before

  the Grand Jury. The evidence will show if Springer was required to make or file

  anything with the IRS that it was an unintentional mistake and not deliberate. If it

  becomes necessary, Springer will present a good faith defense to the claims in

  Count Two. The evidence will show that the term “exempt amount” for the year

  2000 has not been written in any law of Congress. The evidence will prove lack of

  venue as to Count Two.

  12.   Count Three and Four

        Springer and Stilley are charged in Counts Three and Four with attempting

  to evade Springer’s income tax liability for the years 2003 and 2005 in violation of

  Title 26, United States Code, Section 7201. Defendant Stilley is charged using the

  aiding and abetting statue, Title 18, United States Code, Section 2.

  13.   Count Three and Four Elements

        The elements of attempted tax evasion are: (1) a substantial tax liability was

  due and owing by Springer for the year 2003 and 2005; United States v. Mounkes,

  204 F.3d 1024, 1028 (10th Cir. 2000); U.S. v. Anderson, 319 F.3d 1218, 1219 (10th Cir.

  2003); U.S. v. Thompson, 518 F.3d 832, 853 (10th Cir. 2008) and U.S. v. Farr, 536 F.3d

  1174, 1181 (10th Cir. 2008), (2) willfulness; and (3) an affirmative act constituting

                                           13
Case 4:09-cr-00043-SPF Document 142 Filed in USDC ND/OK on 09/21/09 Page 14 of 29




  evasion or attempted evasion of payment regarding the tax liability owed by

  Springer.    United States v. Mounkes, 204 F.3d 1024, 1028 (10th Cir. 2000); U.S. v.

  Anderson, 319 F.3d 1218, 1219 (10th Cir. 2003).To find Springer acted willfully as

  alleged in Count Three and Four, the Government must prove (1) that the law

  imposed a specific duty on Springer to file a Form 1040 at the time, place and

  manner, prescribed by law, (2) that Springer knew of this specific duty according

  to these prescribed laws, and (3) that he voluntarily and intentionally violated such

  duty under these laws. U.S. v. Chisum, 502 F.3d 1237, 1241 (10th Cir. 2007); quoting

  Cheek v. United States, 498 U.S. 201, 202 (1991). The elements of aiding and

  abetting are that the Government must prove beyond a reasonable doubt Stilley

  (1) "willfully associate[d] with the criminal venture," and (2) "aid[ed] such venture

  through affirmative action." United States v. Jones, 44 F.3d 860, 865, 869 (10th Cir.

  1995)

  14.     Venue for Count Three and Four

          Springer states that issue of venue is the same for Counts Three and Four as

  Springer expressed above for Count Two and is not in need of being restated.

  15.     Materiality for Count Three and Four

          Springer states that issue of materiality is the same for Counts Three and Four

  as Springer expressed above for Count Two and is not in need of being restated.

  16.     Count Three and Four Defenses.



                                             14
Case 4:09-cr-00043-SPF Document 142 Filed in USDC ND/OK on 09/21/09 Page 15 of 29




        The Defenses for Counts Three and Four are the same as expressed above

  in Count Two with the addition that the evidence will show Stilley never aided and

  abetted Springer for the year 2003 or 2005 or the other way around. Evidence will

  also overwhelming show the IRS Form 1040 for the year 2003 and 2005 did not

  comply with the Paperwork Reduction Act of 1995 and that a defense to the claims

  in Count Two was offered by the Commissioner of the Internal Revenue Service in

  2003 and 2005 and that Springer relied upon these words and the complete

  defense under 44 U.S.C. § 3512 as a public protection from the penalties sought in

  this charge. The evidence will show Springer never used Stilley’s Iolta account to

  deposit any money from Springer nor did Springer use Stilley’s credit cards to

  conceal any gross income of springer nor did Springer make any materially false

  statements to the IRS agents and employees or commit any other allegation

  alleged in Counts Three and Four. The evidence will not show Springer attempted

  to conceal any gross income from any proper officer of the United States. The

  evidence will show that the term “exempt amount” for the year 2003 and 2005

  have not been written in any law of Congress.

  17.   Counts Five and Six.

        Springer is charged individually in Counts Five and Six with willfully failing to

  file his federal income tax return Form 1040 for the years 2002 and 2004, in violation

  of Title 26, United States Code, Section 7203. The elements of willful failure to file a

  Form 1040 are: (1) Springer omitted filing a Form 1040 for each of the years 2002 and


                                            15
Case 4:09-cr-00043-SPF Document 142 Filed in USDC ND/OK on 09/21/09 Page 16 of 29




  2004 and (2) Springer acted willfully. Sansone v. United States, 380 U.S. 343, 351

  (1965)    To find Springer acted willfully as alleged in Count Five and Six, the

  Government must prove (1) that the law imposed a specific duty on Springer to file

  a Form 1040 at the time, place and manner, prescribed therein, (2) that Springer

  knew of this specific duty according to these prescribed laws, and (3) that he

  voluntarily and intentionally violated such duty under these laws. U.S. v. Chisum, 502

  F.3d 1237, 1241 (10th Cir. 2007); quoting Cheek v. United States, 498 U.S. 201, 202

  (1991). See also United States v. Thompson/Center Arms Co., 504 U.S. 505, 518

  (1992); Bryan v. United States, 524 U.S. 184, 194 (1998)

  18.      Venue for Count Five and Six

           Springer states that issue of venue is the same for Counts Five and Six as

  Springer expressed above for Count Two and is not in need of being restated.

  19.      Count Five and Six Defenses

           The evidence will not show Springer acted in bad faith. The evidence will

  show no district director or internal revenue district existed that could be relied

  upon by the Prosecution to prove to the jury under Cheek that Springer was

  “required by law” or the “law imposed a duty” that he file a Form 1040 for the year

  2000, 2001, 2002, 2003, 2004 and 2005. The evidence will also prove the money at

  issue for each year was intended not as payment for services rendered, as Brian

  Shern testified to the indicting Grand Jury, but rather was given to Springer and

  made known at the time it was given to continue Springer’s mission of helping “get

                                            16
Case 4:09-cr-00043-SPF Document 142 Filed in USDC ND/OK on 09/21/09 Page 17 of 29




  rid of the Internal Revenue Service” once and for all.            Evidence will also

  overwhelming show the IRS Form 1040 did not comply with the Paperwork

  Reduction Act of 1980 or 1995 and that a defense to these claims in Count one was

  offered by the Commissioner of the Internal Revenue Service since 1996.

  Evidence will also show Springer’s ministry to get rid of the IRS did not begin in 2000

  as Shern testified but rather began in 1992 . If it becomes necessary, Springer will

  present a good faith defense to the claims in Count Five and Six. The evidence will

  prove lack of venue as to Count Five and Six. The evidence will show that the term

  “exempt amount” for the year 2002 and 2004 have not been written in any law of

  Congress.

  20.   The Paperwork Reduction Act of 1995.

        In United States v. Chisum, 502 F.3d 1237 (10th Cir. 2007), the 10th Circuit held

  that if the charges against Mr. Chisum were predicated on the failing to file the

  Paperwork Reduction Act of 1995 would apply. at 1244.

        The Prosecution in this case took the position that the Paperwork Reduction

  Act of 1995 did not provide a complete defense or “no defense” to the claims

  predicated upon the failing to file Form 1040s from 1989 through 2005.

        The 10th Circuit in Chisum clearly said:

        The PRA, 44 U.S.C. §§ 3501-20, precludes the imposition of any penalty
        against a person for "failing to comply with a collection of information"
        if either (1) it "does not display a valid control number" or (2) the
        agency fails to alert the person that he or she "is not required to


                                            17
Case 4:09-cr-00043-SPF Document 142 Filed in USDC ND/OK on 09/21/09 Page 18 of 29




        respond to the collection of information unless it displays a valid
        control number." 44 U.S.C. § 3512(a). A § 3512(a) defense may be
        raised at any time. See id. § 3512(b). Tax forms are covered by the
        PRA. See Dole v. United Steelworkers of Am., 494 U.S. 26, 33, 110 S.Ct.
        929, 108 L.Ed.2d 23 (1990).
  United States v. Chisum, 502 F.3d 1237, 1243 (10th Cir. 2007)

        The Prosecution cited to Chief Judge Eagan’s opinion in 06-110 which stated:

        However, it is settled law that “the requirement to file a tax return is
        mandated by statute, not by regulation” and “such explicit statutory
        requirements are not subject to the PRA.” United States v. Dawes, 951
        F.2d 1189, 1191-92 (10th Cir.1991).
  Springer v. United States, 447 F.Supp.2d 1235, 1238 (N.D. Okla. 2006).

        Yet, the Dawes Panel actual held:


        “We would be inclined to follow the general analysis of Wunder and
        Hicks and hold that the operation of the PRA in these circumstances
        did not repeal the criminal sanctions for failing to file an income tax
        return because the obligation to file is a statutory one. However, we
        are not compelled to rest our opinion on the statutory origin theory
        because we find the analysis of other courts which have considered
        the issue to be persuasive.”



  Dawes at 1192

        Of course, this is why the published decision on 8. 31.09 by the Tenth Circuit

  in Springer v. IRS stated its 5.1.07 Order in Springer III only upheld Chief Judge

  Eagan’s decision that the Paperwork Reduction Act of 1995 did not provide a right

  of action and can only be raised as a defense. See Exhibit 1, pg. 8-9 Nothing else

  Judge Eagan said was affirmed. In fact, the Panel actually stated “we did not

  address the merits of Mr. Springer’s claims under the PRA in any of the three

                                          18
Case 4:09-cr-00043-SPF Document 142 Filed in USDC ND/OK on 09/21/09 Page 19 of 29




  cases.” See Exhibit 1, pg. 8

        Interestingly, the Prosecution argued to this Court “Defendant’s “complete

  defense” is no defense” while the Tenth Circuit repeatedly states the protection

  provide by the Paperwork Reduction Act is a complete defense, a defense, is a

  difficult issue and applies to failing to file Forms 1040.

        In Springer III, the Tenth Circuit stated to this Court:

        “Thus, § 3512 may only be invoked as a defense “at any time during
        ongoing proceedings.” Ctr. for Auto Safety v. Nat’l Highway Traffic
        Safety Admin., 244 F.3d 144, 150 (D.C. Cir. 2001) (discussing Saco River
        Cellular, Inc. v. F.C.C., 133 F.3d 25, 31 (D.C. Cir. 1998)).
                Springer did not raise the PRA as a defense or in a judicial action
        applicable to any agency administrative process. Rather, he raised it
        as a claim in an independent action, a fact that is underscored by the
        relief sought under the PRA—an injunction against conduct alleged to
        have occurred in connection with other pending civil actions and
        criminal investigations. Because § 3512(b) does not provide a right of
        action, the district court properly dismissed the case.”


  See Exhibit 2, pg. 13 [Order of May 1, 2007 involving 05-466 and 05-1075 (Judge Friot

  presiding)]

        Lastly, there can be no doubt the Paperwork Reduction Act of 1995 applies

  as a complete defense to the claims the Prosecution advanced against Springer

  to the Grand Jury.

        The Prosecution cited to section 6151 as part of its theory on the meaning of

  “required by law.” See Doc. 104 “The Internal Revenue Code ties the duty to pay

  federal income taxes to the duty to make an income tax return. See 26 U.S.C. §

  6151(a) ("when a return of a tax is required . . . the person required to make such

                                             19
Case 4:09-cr-00043-SPF Document 142 Filed in USDC ND/OK on 09/21/09 Page 20 of 29




  return shall . . . pay such tax") ” Holywell Corp. v. Smith, 503 U.S. 47, 52 (1992)

        In U.S. v. Collins, 920 F.2d 619, 630 n. 13 (10th Cir. 1990) the Tenth Circuit

  announced to the Prosecution in this case:

        In United States v. Weiss, 914 F.2d 1514, 1520-22 (2d Cir. 1990), the
        Second Circuit held that the Paperwork Reduction Act did not
        preclude prosecution for filing false medicare and Medicaid claims,
        despite the fact that the forms in question did not contain OMB control
        numbers. Distinguishing Smith, where defendants were prosecuted for
        failure to file a Plan of Operations with the Forest Service, the Second
        Circuit reasoned that the Act "`only protects a person from penalties
        for failing to files information It does not protect one who files
        information which is false.'" Id. at 1522 (quoting Funk, The Paperwork
        Reduction Act: Paperwork Reduction Meets Administrative Law, 24
        Harv.J. on Legis. 1, 77 n. 411 (1987)) (emphasis in original). We
        recognize that because defendant was charged with tax evasion and
        not failure to file tax returns, he technically was not being prosecuted
        for failure to provide information. Had defendant's tax evasion been
        effectuated through the filing of falsified tax returns, Weiss would
        dictate that no Paperwork Reduction Defense would be available to
        him. But because the provision of information in 1040 forms is
        inexorably linked to the statutory requirement to pay taxes, and
        defendant failed to file such forms, the Paperwork Reduction Act was
        applicable to such conduct.


        The Tenth Circuit in Chisum referenced this footnote 13 by saying:

        But the PRA protects a person only "for failing to file information. It does
        not protect one who files information which is false." Collins,920 F.2d at
        630 n. 13 (internal quotation marks omitted).


  Chisum 502 F.3d at 1244

        In its Bill of Particulars the Prosecution explains:



        Counts 2, 3, 5 and 6 of the Indictment each include the phrase

                                             20
Case 4:09-cr-00043-SPF Document 142 Filed in USDC ND/OK on 09/21/09 Page 21 of 29




        "required by law" in reference to Defendant Springer’s failure to file a
        federal income tax return. The filing of income tax returns is mandated
        by statute. United States v. Collins, 920 F.2d 619, 630-31 (10th Cir. 1990);
        United States v. Dawes, 951 F.2d 1189, 1193 (10th Cir. 1991); United
        States v. Neff, 954 F.2d 698, 699-700 (11th Cir. 1992); United States v.
        Hicks, 947 F.2d 1356, 1359 (9th Cir. 1991); United States v. Kerwin, 945
        F.2d 92 (5th Cir. 1991); United States v. Wunder, 919 F.2d 34, 38 (6th
        Cir.1990). The statutes that required Defendant Springer file individual
        federal income tax returns are as follows:

        Springer attaches the entire quote from Collins on page 630-631 and

  challenges the Prosecution to show this Court and Springer where in that language

  the conclusion that the “filing of income tax returns is mandated by statute”:

        [29] 2. Paperwork Reduction Act

        [30] The Paperwork Reduction Act, 44 U.S.C. § 3501-20, requires that
        federal agencies submit all "information collection requests" to the
        Director of the Office of Management and Budget (OMB) for review,
        44 U.S.C. § 3507. "Typical information collection requests include tax
        forms,[fn12] medicare forms, financial loan applications, job
        applications, questionnaires, compliance reports and tax or business
        records." Dole v. United Steelworkers, ___ U.S. ___, 110 S.Ct. 929, 933, 108
        L.Ed.2d 23 (1990). Once the OMB director approves the information
        collection requests, he must assign it a control number. 44 U.S.C. §
        3504. An agency shall not conduct or sponsor the collection of
        information unless the information collection request has been
        submitted to and approved by the Director, 44 U.S.C. § 3507(a), and
        shall not engage in a collection of information without obtaining from
        the Director a control number to be displayed upon the information
        collection request, 44 U.S.C. § 3507(f). Moreover,

              no person shall be subject to any penalty for failing to
              maintain or provide information to any agency if the
              information collection request involved was made after
              December 31, 1981, and does not display a current
              control number assigned by the Director, or fails to state
              that such request is not subject to
              this chapter.


                                            21
Case 4:09-cr-00043-SPF Document 142 Filed in USDC ND/OK on 09/21/09 Page 22 of 29




        [31] 44 U.S.C. § 3512. See, e.g., United States v. Smith, 866 F.2d 1092,
        1098-99 (9th Cir. 1989) (prosecution for failure to file a Plan of
        Operations with the Forest Service barred under § 3512 of the Act
        because the filing requirement was imposed pursuant to an
        information collection request which lacked an OMB control number).

        [32] Dickstein did not contend that the W-4 forms at issue in the case
        violated the Paperwork Reduction Act. He further conceded that the
        IRS 1040 forms at issue all contained OMB control numbers.[fn13] He
        argued, however, that because the forms did not contain expiration
        dates, they did not comply with the Act. While acknowledging that
        there is no explicit requirement in the statute that information
        collection requests contain expiration dates, Dickstein pointed to
        oblique language in the legislative history of the Act suggesting that
        expiration dates are required. See S.Rep. No. 96-930, 96th Cong. 2d
        Sess. (1980), reprinted in 1980 U.S.Code Cong. & Admin. News 6241,
        6242. We agree with the district court that this isolated language in the
        Senate Report does not outweigh plain statutory language indicating
        that expiration dates are not required along with an OMB control
        number. However we cannot say that Dickstein lacked an arguable
        legal basis to argue to the contrary. See Lonsdale v. United States, 919
        F.2d 1440, 1447 (10th Cir. 1990) (coverage of Paperwork Reduction Act
        is not sufficiently well-settled to warrant sanctions for frivolous appeal).
        On the other hand, the IRS 1040 forms at issue in the present case were
        explicitly designated as either "1982," "1983," or "1984" tax returns with
        their effective dates of coverage clearly denoted.[fn14] See rec. vol.
        IX, doc. 25. Assuming arguendo, that the Paperwork Reduction Act
        mandates that all federal forms contain expiration dates, this
        requirement plainly would be satisfied by the dates provided on the
        1040 forms at issue. Dickstein thus lacked any arguable basis in fact or
        law to argue that the noncompliance of the 1040 forms which
        defendant failed to file did not comply with the Paperwork Reduction
        Act: his argument is legally frivolous. See Neitzke v. Williams, 490 U.S.
        319, 109 S.Ct. 1827, 1831, 104 L.Ed.2d 338 (1989) (defining legal
        frivolousness).


        Springer cannot find any such suggestion on page 630 or 631 of the Collins

  published decision. Springer also cannot find on page 1193 in the Dawes decision

  where the proposition the filing of an income tax return is mandated by statute was

                                            22
Case 4:09-cr-00043-SPF Document 142 Filed in USDC ND/OK on 09/21/09 Page 23 of 29




  held. Page 1193 quotes as follows:

        [14] We do not believe that Congress could have intended that the
        PRA repeal the statutory criminal penalty for failing to file an income
        tax return because tax regulations and instructions lack OMB numbers.
        As noted above, the 1040 form has the necessary numbers and
        expiration date for any necessary compliance with the Act. The
        regulations and instructions, meaningless without a 1040 form to file,
        are regulations and instructions aimed at a purpose: the proper
        completion of the 1040 form. As long as the 1040 form complies with
        the Act, nothing more is required. We agree with the Ninth Circuit that

              [i]f in enacting the PRA, Congress had intended to repeal
              26 U.S.C. § 7203 [which predates the PRA by over
              twenty-five years] it could have done so explicitly.
              Repeals by implication are not favored. Morton v.
              Mancari, 417 U.S. 535, 549 [94 S.Ct. 2474, 2482, 41 L.Ed.2d
              290] (1974). Congress enacted          the PRA to keep
              agencies, including the IRS, from deluging the public
              with needless paperwork. It did not do so to create a
              loophole in the tax code.

        [15] Hicks, 947 F.2d at 1359.

        [16] Finally, the appellants argue that because the instructions
        explicitly require them to maintain tax and business records, see
        Instructions for Preparing Form 1040 (1983 ed.) at 18, the instructions are
        "recordkeeping requirements" and thus are information collection
        requests subject to the PRA. We disagree. We would discern two
        subsets to the recordkeeping side of the "reporting and
        recordkeeping" category. Any recordkeeping that would require the
        taxpayer to further manipulate, analyze or rearrange the information
        in the documents he or she has already amassed in order to complete
        the 1040 form might arguably be an additional paperwork step that
        would be subject to the PRA - a point we need not decide. In contrast,
        a requirement simply to maintain or store the documents already
        assembled, or which logically ought to be assembled, for completion
        of the 1040 does not impose any extra paperwork burden on the
        taxpayer within the meaning of the Act and should escape the force
        of the PRA. Thus, neither the instructions nor the regulations are
        information collection requests or reporting and recordkeeping
        requirements requiring OMB control numbers pursuant to the PRA. The

                                            23
Case 4:09-cr-00043-SPF Document 142 Filed in USDC ND/OK on 09/21/09 Page 24 of 29




        public protection provision of the Act, therefore, will not shield
        appellants from the penalty for failing to file their tax returns.

  Dawes at 1193

        And again, Springer does not find anywhere in these two Tenth Circuit

  published decisions where the Tenth Circuit subscribed to the statutory origin theory

  argued by the Prosecution in their Bill of Particulars and other responses. In fact, in

  Dawes, as Springer argued above, the Tenth Circuit specifically rejected the

  statutory origin theory wherein they stated:

        However, we are not compelled to rest our opinion on the statutory
        origin theory because we find the analysis of other courts which have
        considered the issue to be persuasive.


  Dawes at 1192.

        Springer agrees that the other Circuit decisions cited by the Prosecution do

  reference a statutory origin theory however none of those theories agree with each

  other. For instance, in United States v. Neff, 954 F.2d 698, 699-700 (11th Cir. 1992) the

  Eleventh Circuit said:

        We state only the most obvious reason for rejecting Neff's claim.
        Congress created Neff's duty to file the Returns in 26 U.S.C. § 6012(a),
        and nowhere did Congress condition this duty on any Treasury
        regulation. See United States v. Wunder, 919 F.2d 34, 38 (6th Cir. 1990).
        Congress did not enact the PRA's public protection provision to allow
        OMB to abrogate any duty imposed by Congress. See Dole, 494 U.S.
        at 32-33, 110 S.Ct. at 933; United States v. Hicks, 947 F.2d 1356, 1359-60
        (9th Cir. 1991); Wunder, 919 F.2d at 38. So the PRA provides Neff no
        refuge from his statutorily-imposed duty to file income tax returns.


        There is obvious reason why the Tenth Circuit does not agree with the

                                             24
Case 4:09-cr-00043-SPF Document 142 Filed in USDC ND/OK on 09/21/09 Page 25 of 29




  Eleventh Circuit in Neff. In Dawes, 951 F.2d 1189, 1193 (10th Cir) at footnote 3 the

  Panel in that published decision cited to both section 6011 and 6012.         See also

  United States v. Rickman, 638 F.2d 182, 184 (10th Cir. 1980)(“Sections 6011 and 6012,

  Title 26 U.S.C. require that he file a return.”)

         As this Court clearly can see section 6011 begins “When required by

  regulation prescribed by the Secretary every person made liable for any tax

  imposed by this title, or with respect to the collection thereof, shall make a return

  or statement according to the forms and regulations prescribed by the Secretary.”

  Here the Tenth Circuit found the obvious in Dawes and Rickman and that was the

  requirement to provide information is conditioned upon regulations prescribed by

  the Secretary and such conclusion was inapposite to the conclusion in Neff by the

  Eleventh Circuit.

         In United States v. Kerwin, 945 F.2d 92 (5th Cir. 1991) the Fifth Circuit per

  curiam stated:



         This issue was considered in United States v. Wunder, 919 F.2d 34, 38
         (6th Cir. 1990), which held that the Paperwork Reduction Act does not
         apply to the statutory requirement that a taxpayer must file a return.
         Since Kerwin, like the taxpayer in Wunder, was convicted of that
         statute, which is not an information request, there is no violation of the
         Paperwork Reduction Act. For the reasons set forth in Wunder, we
         AFFIRM.


         In United States v. Hicks, 947 F.2d 1356, 1359 (9th Cir. 1991) that panel

  obviously rejected by the Dawes Panel and stated “the code requires that persons

                                              25
Case 4:09-cr-00043-SPF Document 142 Filed in USDC ND/OK on 09/21/09 Page 26 of 29




  such as Hicks make a return. 26 U.S.C. § 6012.” Obviously, the 9th Circuit in Hicks did

  not agree section 6011 played any role in the requirement to file a return as the

  Panel in Dawes and Rickman did.

        The last citation by the Prosecution in their Bill of Particulars is United States v.

  Wunder, 919 F.2d 34, 38 (6th Cir.1990). This decision was also relied upon by the

  Panel in Kerwin by the Fifth Circuit. In Wunder, that panel held:

        “the regulations do not need a number because the requirement to
        file a tax return is mandated by statute, not by regulation. Defendant
        was not convicted of violating a regulation but of violating a statute
        which required him to file an income tax return. See 26 U.S.C. § 6012
        and 7203.”


        The theory in Wunder left off section 6011 and added section 7203. Neff

  relied upon 6012 by itself as did Hicks. Yet the Dawes Court rejected these theories

  specifically. The Dawes Court specifically rejected the Prosecution theory in this

  case and the theory in Wunder and Hicks by saying:

        “We would be inclined to follow the general analysis of Wunder and
        Hicks and hold that the operation of the PRA in these circumstances
        did not repeal the criminal sanctions for failing to file an income tax
        return because the obligation to file is a statutory one. However, we
        are not compelled to rest our opinion on the statutory origin theory
        because we find the analysis of other courts which have considered
        the issue to be persuasive.”

  Dawes at 1192

        And lastly, this Court need look no further to decide the Paperwork Reduction

  Act is a complete defense to all the charges in the indictment of this case as the

  Prosecution cited to section 6011 among the numerous sections they cited to on

                                             26
Case 4:09-cr-00043-SPF Document 142 Filed in USDC ND/OK on 09/21/09 Page 27 of 29




  July 14, 2009. See Doc. 104. All the charges rely upon and are predicated upon

  the alleged willful failure to file returns.

         As the Tenth Circuit stated on August 31, 2009 finding the Commissioner of the

  Internal Revenue frivolous, that the argument the Paperwork Reduction Act

  defense was found frivolous in Springer I, II and III, is a frivolous argument in and of

  itself by the Commissioner and his attorneys.

         The Prosecution in this case is no less frivolous than the Commissioner was in

  08-9004 held on August 31, 2009 by the Tenth Circuit by arguing what it has argued

  to this Court in its opposition to the Paperwork Reduction Act claims of Springer.

         This Court did not make a formal order on why it was denying Springer’s

  Paperwork Reduction Act claims for dismissal leaving Springer to believe this Court

  accepted the Prosecution’s frivolous position they have articulated over and over

  again.

         Because the Paperwork Reduction Act is inexorably linked to payment of

  taxes the defense provided by section 3512 clearly applies in this case.

         Paperwork Reduction Act violations self evidence from face of Form 1040s

  for 1990 through 2008.     The evidence introduced at trial will show the Forms 1040,

  the booklets, and the application 83I made by the IRS are not in compliance with

  the certification made by the IRS in section 19 of the Form 83I nor are any of the

  information required on Form 1040 pursuant to Title 44, Section 3506 and 3507, or

  under 5 CFR 1320 appearing upon the face of any Form 1040 from 1995 through


                                                 27
Case 4:09-cr-00043-SPF Document 142 Filed in USDC ND/OK on 09/21/09 Page 28 of 29




  2008. As the Tenth Circuit recently stated while finding the Commissioner “frivolous”

  “Mr. Springer raises difficult issues regarding the PRA and the tax code.”

        Since the charges in Counts One through Six are “predicated” upon the

  failure to file the Paperwork Reduction Act does apply as a complete defense and

  or good faith or otherwise defense.



                                  Respectfully Submitted
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                                           28
Case 4:09-cr-00043-SPF Document 142 Filed in USDC ND/OK on 09/21/09 Page 29 of 29




                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of Lindsey Kent Springer’s

  Trial Brief was ecf’d on September 21, 2009 to:


  Kenneth P. Snoke,
  Charles O’Reilly,
  Oscar Stilley




                           /s/ Lindsey K. Springer
                           Signature




                                          29
